                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

   GAIL HARNESS,                                  )
                                                  )
          Plaintiff,                              )
                                                  )          Nos. 3:18-cv-100, 3:19-cv-340
   v.                                             )                  Judge Collier
                                                  )            Magistrate Judge Guyton
   ANDERSON COUNTY, TENNESSEE,                    )
                                                  )
          Defendant.                              )

                                   FINAL PRETRIAL ORDER

         This matter having come before the Court on June 3, 2021 at a pretrial conference pursuant
  to Rule 16 of the Federal Rules of Civil Procedure, and Ursula Bailey, Richard Everett Collins,
  and Dan Channing Stanley having appeared as counsel for Plaintiff Gail Harness, and Arthur
  Knight and Caitlin Burchette having appeared as counsel for Defendant Anderson County,
  Tennessee, the following action was taken:

  1.     Jurisdiction: This civil rights action arises under the Equal Protection Clause of the
         Fourteenth Amendment and is brought pursuant to 42 U.S.C. § 1983. Jurisdiction of the
         Court is invoked pursuant to 28 U.S.C. § 1331. Supplemental jurisdiction over Plaintiff’s
         state law claims is invoked pursuant to 28 U.S.C. § 1367. The jurisdiction of the Court is
         not disputed.
  2.     General Nature of the Claims of the Parties:

         a.      Claims and relief sought: Plaintiff brings four distinct claims against Defendant,
                 her former employer: 1) for compensatory and punitive damages for subjecting her
                 to a hostile work environment in violation of the Fourteenth Amendment’s equal
                 protection clause; 2) for compensatory and punitive damages for subjecting her to
                 a hostile work environment in violation of the Tennessee Human Rights Act
                 (“THRA”); 3) for lost wages and employment benefits, compensatory damages,
                 and punitive damages for terminating Plaintiff’s employment in retaliation of her
                 asserting her rights secured by the Fourteenth Amendment’s equal protection
                 clause; and 4) for lost wages and employment benefits, compensatory damages, and
                 punitive damages for terminating Plaintiff’s employment in retaliation of her
                 asserting her rights secured by the THRA.

                 Finally, should Plaintiff prevail on one or more of the foregoing claims, she and her
                 attorneys seek an award of all reasonable attorney fees and costs under 42 U.S.C. §
                 1988 and the THRA.




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         b.     Stipulated facts:

                    1) There is no dispute concerning the Court’s jurisdiction over the claims in
                       this case.

                    2) Anderson County is an “employer” within the meaning of and subject to the
                       Tennessee Human Rights Act, which prohibits workplace discrimination
                       and harassment based on sex, and similarly prohibits employers from
                       terminating, reassigning, or demoting employees who complain about sex
                       discrimination and harassment, and the cases construing said law.

                    3) Anderson County is subject to the Fourteenth Amendment’s equal
                       protection clause, which likewise prohibits discrimination and harassment
                       based on sex, and further prohibits governmental employers like Anderson
                       County from retaliating against individuals who complain about sex
                       discrimination and harassment, and the cases construing said law.

                    4) William T. Jones was elected as the Clerk of the Anderson County Circuit
                       Court Clerk’s Office on September 2, 2014 and took office on September
                       2, 2014.

                    5) On May 2, 2018, William T. Jones lost his re-election campaign to Rex
                       Lynch.

                    6) In January of 2016, Plaintiff Gail Harness began working at the Anderson
                       County Circuit and General Sessions Court Clerk’s office as an intern.

                    7) In February of 2016, Plaintiff was hired as a part-time file clerk in the
                       Clerk’s office.

                    8) Plaintiff was hired as a full-time deputy clerk with the Anderson County
                       Circuit and General Sessions Court Clerk’s office in August 2016.

                    9) On August 9, 2017 Plaintiff reported her complaints of sexual harassment
                       to Anderson County HR Director, Russell Bearden.

         c.     Plaintiff’s theory: [set out brief summary without detail].
          Employers, particularly governmental employers like Anderson County, have a legal
  obligation under the United States Constitution and under Tennessee law to prevent sexual and
  other forms of harassment in the workplace, whether at the hands of coworkers, supervisors, or
  officials. In this case, Anderson County failed to protect Plaintiff Gail Harness and other women
  from severe and ongoing sexual harassment perpetrated by the County’s own official, William T.
  Jones, Clerk of the Anderson County Circuit Court.

  For years preceding the filing of this action, Clerk Jones subjected Plaintiff and other women
  working for the County to unwelcomed sexual advances, unwanted touching, intimidation, threats



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  of retaliation, retaliation, and epithets offensive to women. The County knew all along that Clerk
  Jones was doing it. Enduring sexual harassment in the Clerk’s office became a part of the job. It
  was like a requirement Plaintiff, a young mother and recent college graduate, who once believed
  she was destined to work in government for the rest of her life, had to grin and bear day after day
  to keep her job, her health benefits, and her career.

  And even worse, once she finally got the courage to report Clerk Jones’s harassment to the
  County’s HR department, which it already knew, it was Plaintiff—not Jones—who was stripped
  of her position and forced to take a leave of absence. The County proved it was not interested in
  helping Jones’s victims, or in correcting the hostile work environment, because absolutely nothing
  was done (no training, no monitoring). Nothing. Instead, the County just shuffled Plaintiff aside
  until Jones lost a political election, then fired her for no reason after a new Clerk took office.

  In this case, seeks money damages to compensate her for the mistreatment, the humiliation, the
  fear, the anxiety, and emotional injuries she suffered and sustained and will continue to suffer and
  sustain as a result of the harassment and the County’s failure to protect her.

  Specifically, Plaintiffs seeks an award of back pay in an amount equal to all lost wages plus the
  value of all lost benefits arising from her unlawful termination on September 1, 2018.

  Plaintiff seeks compensatory damages for mental anguish, emotional distress, a diagnosis of post-
  traumatic stress disorder, pain and suffering, shame, damage to her reputation, and all other
  compensatory damages to which she is entitled. Each one of these damages are separate and
  distinct. Plaintiff was 28 years-old when the harassment began. According to the U.S. Life Tables,
  National Vital Statistics Reports, Vol. 68, No. 7, June 24, 2019, Plaintiff’s life expectancy is 54.9
  years or 20,039 days.
  Finally, Plaintiff seeks an award of punitive damages in amount to be determined by the jury.
         d.      Defendant’s theory: [set out brief summary without detail].

         Defendant denies violating Plaintiff’s federal constitutional rights, state law, or engaging
  in any wrongdoing towards Plaintiff. Neither this Defendant nor any employee/agent of this
  Defendant acted with deliberate indifference towards the Plaintiff regarding any alleged claim of
  sexual harassment.

         At the time of the alleged events, this Defendant had policies and procedures in place
  regarding sexual harassment. A copy of the sexual harassment policy was in the Anderson County
  Government Employee Handbook.

          Plaintiff began working for the Anderson County Circuit and General Sessions Court staf
  as an intern on or around January 2016. Plaintiff was hired by then-clerk William Jones. The
  Circuit Court Clerk is an elected official within Anderson County. Plaintiff became a part-time
  clerk on or around February 2016 and was hired full time by Jones in August of 2016.

         During Plaintiff’s tenure as a part-time clerk, she began communicating with Mr. Jones
  outside of work via the social media app, Snapchat. Snapchat allows users to send each other



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  pictures and text-message like communications that automatically disappear after a certain time.
  Plaintiff sent Mr. Jones pictures of her exposed breasts through this app, and some messages
  contained improper suggestions by Jones. Despite these alleged improper suggestions, Plaintiff
  continued to use the app to communicate with Jones. This type of communication continued for
  months, carrying over into Plaintiff’s tenure without complaint from Plaintiff. Of course, Plaintiff
  deleted all inappropriate suggestions she made to Mr. Jones.

         Plaintiff did not voice any of her complaints or concerns regarding Jones to any supervisor,
  department head, or human resource representative regarding Jones until August 9, 2017, after she
  received a disciplinary action from Jones at the clerk’s office. The Anderson County Human
  Resources Department investigated the matter and had the Plaintiff give a sworn statement on
  September 14, 2017.

         Defendant asserts that it acted swiftly and appropriately once Plaintiff reported her
  complaints or concerns regarding Jones to human resources. Following Plaintiff’s state
         ment she was placed on leave with pay and benefits. Plaintiff received full pay and benefits
  from the County despite not working until March 2018, when she took a position at the county-
  owned senior center. During her employment at the senior center, Plaintiff was paid the same rate
  she was receiving as a clerk.

          Mr. Jones did not win his re-election campaign and was replaced by Rex Lynch on
  September 1, 2018. As is typical with an elected office, Mr. Lynch interviewed all current clerk
  staff and applicants to determine the staff for his term. Ms. Harness interviewed for her clerk
  position again and was not rehired by Mr. Lynch, for legitimate, non-discriminatory reasons. The
  same month, Plaintiff gained employment with Douglas-Cherokee Economic Agency
          Defendant asserts that no action of Jones was authorized or approved by any County policy
  or custom.
         Defendant alleges that no act or omission by the County was a proximate cause to any
  claimed injury of the Plaintiff.

         Defendant demands a jury to try this cause.

         Defendant avers Plaintiff is not entitled to any relief in this cause.

         Defendant respectfully request that it be awarded its attorney fees and costs pursuant to 42
  U.S.C. § 1988 should it prevail in this action.

  3.     Contested Issues of Law: There are no special issues of law to be resolved before trial.

  4.     Exhibits: The parties have disclosed all exhibits in accordance with Rule 26(a)(3)(A)(iii)
         of the Federal Rules of Civil Procedure. All exhibits to be introduced have been pre-
         marked in such a way as to allow the Court to determine which party is offering them. The
         parties have prepared a joint list of exhibits. Three copies of this list have been provided
         to the Court at the final pretrial conference. If this case is nonjury, a copy of each exhibit
         has been furnished to the court at the final pretrial conference.



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        The parties have endeavored to stipulate to the admissibility of all exhibits. The parties
        cannot stipulate to the admissibility of the following exhibits:

           1) Plaintiff cannot stipulate to Defendant’s exhibit 1, because not all of Plaintiff’s
              personnel file is relevant.

           2) Plaintiff cannot stipulate to Defendant’s exhibit 2, because Plaintiff’s personnel file
              from her current employer is not relevant.

           3) Plaintiff cannot stipulate to Defendant’s exhibit 4, because requests for production
              responses are not relevant.

           4) Plaintiff cannot stipulate to Defendant’s exhibit 5, because her medical expenses
              (from a different lawsuit) have no bearing on this case and are irrelevant.

           5) Plaintiff cannot stipulate to Defendant’s exhibit 6 and 7, because these are
              deposition transcripts from an unrelated personal injury case and are hearsay and
              irrelevant.

           6) Plaintiff cannot stipulate to Defendant’s exhibit 13 and 16 because her complaint
              is irrelevant and this pretrial order amends all prior pleadings

           7) Plaintiff cannot stipulate to Defendant’s exhibit 14, because Jones’s answer and
              counter-claims are irrelevant and hearsay and would only lead to juror confusion

           8) Plaintiff cannot stipulate to Defendant’s Exhibit 16, because her complaint is
              irrelevant and this pretrial order amends all prior pleadings

           9) Plaintiff cannot stipulate to Defendants Exhibit 17-19 because these are irrelevant
              pleadings from unrelated case, and they are hearsay

           10) Defendant objects to Plaintiff’s exhibits 1-6 on the grounds that they are not
               relevant, are highly prejudicial to the Defendant and could lead to juror confusion
               of the issues.

           11) Defendant objects to Plaintiff’s exhibit 8 on the grounds that the information
               contained in the email is hearsay.

           12) Defendant objects to Plaintiff’s exhibits 9-10 on the grounds that they are not
               relevant to this Defendant and are highly prejudicial.

           13) Defendant objects to Plaintiff’s exhibit 11 as it is not relevant and highly prejudicial
               to this Defendant

           14) Defendant objects to Plaintiff’s exhibit 12 as it is not relevant to the claims at bar.




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             15) Defendant objects to Plaintiff’s exhibit 13 as it is not relevant, highly prejudicial to
                 this Defendant and could lead to juror confusion of the issues.

             16) Defendant objects to Plaintiff’s exhibit 14 as some of the attachments are hearsay.

             17) Defendant objects to Plaintiff’s exhibit 16 as it is not relevant, highly prejudicial to
                 this Defendant and could lead to juror confusion of the issues.

             18) Defendant objects to Plaintiff’s exhibit 21 as the document does not match what it
                purports to be. Further, Mayor Terry Frank was not in office at the time the original
                email was sent.

             19) Defendant objects to exhibit 28 as it is not relevant to the claims at issue

             20) Defendant objects to exhibit 32 as it is not proximate in time to the complained of
                 events and is therefore not relevant, highly prejudicial to this Defendant and could
                 lead to juror confusion of the issues.

             21) Defendant objects to exhibit 34 as it is not relevant to the claims at issue, it is highly
                 prejudicial to this Defendant and it could lead to juror confusion of the issues.

             22) Defendant objects to exhibit 36 as it is not relevant to the claims at issue, is highly
                prejudicial to this Defendant and could lead to juror confusion of the issues.

             23) Defendant objects to exhibit 38 as it is not relevant to the claims at issue, is highly
                prejudicial against this Defendant and could lead to juror confusion of the issues.

             24) Defendant objects to exhibits 45-46 as they are not relevant to the claims at issue
                 and is highly prejudicial.

             25) Defendant objects to exhibits 53-54 as they are not relevant to the claims at issue,
                 they are highly prejudicial to this Defendant and could lead to juror confusion of
                 the issues.

             26) Defendant objects to exhibit 55 as it is not relevant to the claims at issue.

  5.    Witnesses: The parties have disclosed all witnesses in accordance with Rule 26(a)(3)(A)(i)
        of the Federal Rules of Civil Procedure. The names, addresses, and telephone numbers of
        all witnesses are as follows:

        a.       Witnesses for Plaintiff(s):

         1. Plaintiff Gail Harness, c/o Richard Collins and Ursula Bailey, 422 S. Gay St.,
            Ste. 301 Knoxville, TN 37902, (865) 522-9942

         2. Rodney Harness, Plaintiff's Ex-husband , 302 Doe Run Boulevard, Clinton, TN
            37716, (865) 567-3550



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         3. William T. Jones, former Anderson County Circuit Court Clerk, 111 Jones
            Lane, Unit 268, Briceville, TN 37710, (865) 603-3418

         4. Amy Jones, wife of William T. Jones, 111 Jones Lane, Unit 268, Briceville, TN
            37710, (865) 603-3418

         5. Rex Lynch, current Anderson County Circuit Court Clerk100 N. Main Street,
            Suite 301, Clinton, TN 37716, 865-463-6821

         6. Terry Frank, Anderson County Mayor, 100 N Main Street, Room 208, Clinton,
            TN 37716-3617, (865) 457-6200 or (865) 457-6201

         7. Cathy Best, former Anderson County Director of Human Resources, current
            employer: Ole Smoky Tennessee Moonshine, 236 E. Main Street, Sevierville,
            TN 37862, (865) 436-6995

         8. Russell Bearden, former Anderson County Director of Human Resources, 1435
            Grandview Drive, Lenoir City, TN 37772, (865) 661-4583

         9. Kim Jeffers-Whitaker, Anderson Count Director of Human Resources, 100 N
            Main Street, Room 102, Clinton, TN 37716, (865) 264-6300

         10. Stephanie Strickland, Benefits Administrator, Anderson County Office of
             Human Resources and Risk Management, 100 N Main Street, Room 102,
             Clinton, TN 37716, (865) 264-6300

         11. N. Jay Yeager Anderson County Law Director, 101 South Main Street, Ste. 310
             Clinton, TN 37716, (865) 457-6290

         12. Amanda Surdock, Ph.D., Plaintiff’s Treating Psychologist, 9111 Cross Park
             Drive, Building D, Ste 200, Knoxville, TN 37923, (865) 321-1076

         13. Sabra Beauchamp, 116 Orchard Circle, Oak Ridge, TN 37830, (865) 773-4177

         14. Catherine Denenberg, Anders County Commissioner, 100 North Main Street,
             Clinton, TN 37716, (865) 457-5400, (865) 230-2594

         15. Tim Isbel, Anderson County Commission Chairman, c/o Arthur Knight and
             Caitlin Burchette, Taylor & Knight, GP, 800 S. Gay Street, Suite 600,
             Knoxville, TN 37929

         16. Any member of the Anderson County Commission serving during the term of
             William T. Jones as Clerk




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         17. Records Custodians for Anderson County, including but not limited to the
             County Commission, Law Director’s Office, Office of Human Resources and
             Risk Management, and Circuit Court Clerk’s Office

         18. Amy Carr née Ogle, 4 Ivy Court, Clinton, TN 37716, (865) 805-9398

         19. Valerie Walker (Breeden), 5020 Laurel Woods Drive, Knoxville, TN 37921,
             (865) 405-1511

         20. Emily Wallace, 110 Concord Road, Oak Ridge, TN 37830

         21. Jessica Williams, 350 Ridgeview Dr., Clinton, TN 37716
         22. Tracy Spencer, 7257 Meadowbrook Cir, Knoxville, TN, 37918, (865) 938-1415
         23. Nicole (Niki) Fleck Lucas, (865) 247-1850
         24. Heather Miller, 115 Oakwood Drive, Clinton, TN 37716

         25. Kaylee Winstead, 107 Wilson Avenue, Clinton, TN 37716

         26. Dawn McQueen, 7333 Ladd Rd, Powell, TN 37849

         27. Tracy Spitzer, 171 Crossroads Blvd, Oak Ridge, TN 37830

         28. April Seiber, 101 S. Main St., Clinton, TN 37716, (865) 457-6223

         29. Angela Brown, 130 Hilltop Ln, Powell, TN 37849, (865) 670-0884

         30. Brittany Hall, Plaintiff’s friend, (865) 314-6022

         31. Taisa Wagner, Plaintiff’s sister, (423) 529-8279

         32. Dave Anderson, NAACP

        b.     Witnesses for Defendant(s):
        1. Rex Lynch
        c/o Arthur F. Knight, Esq.
        Taylor & Knight, GP
        800 S. Gay Street, Suite 600
        Knoxville, TN 37929
        (865) 971-1701
        2. Kim Jeffers-Whitaker
        c/o Arthur F. Knight
        Taylor & Knight, GP
        800 S. Gay Street, Suite 600



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        Knoxville, TN 37929
        (865) 971-1701
        3. Russell Bearden
        1435 Grandview Dr.
        Lenoir City, TN 3772
        (865) 661-4583
        4. Amanda White
        Human Resources Director and/or Records Custodian, Douglas-Cherokee Economic
        Authority, Inc.
        534 E. 1st N. St.
        Morristown, TN 37814
        (423) 587-4500
        5. Cherie Phillips
        195 Edgewood Ave.
        Clinton, TN 37716
        6.Terry Frank
        100 N. Main Street
        Room 208
        Clinton, TN 37716
        (865)457-3200
        7. William Jones
        c/o Hugh B. Ward, Jr.
        300 Montvue Rd. Knoxville, TN 37919
        (865)637-1440


  6.    Other Matters: This case is set for trial before the United States District Judge and a jury
        at 9:00 a.m. on June 21, 2021. Counsel shall be present at 9:00 a.m. on the first day of trial
        to take up any preliminary matters. The probable length of trial is 5 days. The parties
        should be prepared for trial on the date which has been assigned. If this case is not heard
        immediately, it will be held in line until the following day or anytime during the week of
        the scheduled trial date.

               [NOTE: As it has been contended that the failure to include a jury demand
               in the final pretrial order is a waiver of the jury demand, your attention is
               invited to being certain to set forth your jury demand if it is your intention
               to have a jury trial.]

  7.    This final pretrial order shall supplant the pleadings.
        SO ORDERED.
        ENTER:




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                                           /s/____________________________
                                           CURTIS L. COLLIER
                                           UNITED STATES DISTRICT JUDGE




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